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11                            UNITED STATES DISTRICT COURT
12                                  DISTRICT OF ARIZONA
13

14   Hualapai Indian Tribe of the Hualapai     Case No. 24-CV-08154 -DJH
     Indian Reservation, Arizona,
15
                          Plaintiffs,          STATE OF ARIZONA’S NOTICE
16
     v.                                        OF WITHDRAWAL OF
                                               DUPLICATIVE DOCUMENTS
17
     Debra Haaland, et al.,
18

19                        Defendants,

20   and
21
     Arizona Lithium, Ltd.,
22
                          Intervenor
23                        Defendants.
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       Case 3:24-cv-08154-DJH Document 57 Filed 09/18/24 Page 2 of 3



 1         On September 16, 2024, the State of Arizona filed its Motion for Leave to File
 2   Brief of Amicus Curiae [Dkts 51, 52]. The State of Arizona also filed Documents 49-50
 3   the same date and now files this Notice to inform the Court that it is withdrawing
 4   Documents 49-50 as duplicative and in error.
 5

 6         RESPECTFULLY SUBMITTED this 18th day of September, 2024.
 7
                                                    KRIS MAYES
 8
                                                    ATTORNEY GENERAL
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                                             By:      /s/ Kristin Wrobel
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       Case 3:24-cv-08154-DJH Document 57 Filed 09/18/24 Page 3 of 3



 1                                  CERTIFICATE OF SERVICE

 2           I hereby certify that on September 18, 2024, I caused the foregoing Notice of Withdrawal

 3   of Duplicative Documents to be filed and served electronically via the Court’s CM/ECF system

 4   upon counsel of record.

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 6                                                               /s/ Kristin Wrobel   ]

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